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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

CONRAD SMITH,                                                 CASE NO.: 1:21-CV-02265-APM
et al.,

       Plaintiffs,
v.

DONALD J. TRUMP,
et al.,

      Defendants.
_____________________________/

                         NOTICE OF WITHDRAWAL OF COUNSEL

To the Clerk of Court and all parties of record:

       Please take notice that Benjamin Barr withdraws his appearance as counsel for Defendant

Brandon J. Straka. Stephen R. Klein and Julianne E. Murray will continue to represent Defendant

Straka in this matter.


                                                       Respectfully submitted,


 /s/ Benjamin Barr                                 /s/ Brandon Straka
 Benjamin Barr
 (Pro Hac Vice)
 BARR & KLEIN PLLC
 444 N. Michigan Avenue Ste. 1200
 Chicago, IL 60611
 Telephone: (202) 595-4671
 ben@barrklein.com




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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 26th day of May, 2023, I filed the foregoing reply with the Clerk

of Court using the CM/ECF system, which will send a notification of electronic filing (NEF) to

Plaintiffs’ counsel and counsel for Defendants.

       I further certify that, pursuant to Federal Rule of Civil Procedure 5(b)(2)(C), counsel will

endeavor to serve all other named Defendants a copy of this motion and proposed order by first

class mail.


                                                      /s/ Benjamin Barr
                                                      Benjamin Barr

                                                      Counsel to Brandon J. Straka
